4:07-cr-03167-RGK-DLP   Doc # 43   Filed: 02/14/08   Page 1 of 2 - Page ID # 149



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,          )
                                   )
                Plaintiff,         )                  4:07CR3167
                                   )
          v.                       )
                                   )
CRISTOBAL CAMACHO and              )           MEMORANDUM AND ORDER
MONIQUE R. MOREY,                  )
                                   )
                Defendants.        )


     A conference was held with counsel for defendant Camacho and
the plaintiff on February 13, 2008 regarding the scheduling of
matters in this case, specifically the hearing on defendant
Camacho’s motion for release.      Counsel also discussed the
possibility of a delay in scheduling the trial, and the court was
informed that the plaintiff had recently produced additional
discovery materials to the defendant.         Defendant’s principal
counsel is out of the district, but defendant was represented by
an associate in the same office.        The court was informed that the
defendant agrees to continuing the hearing and the trial, and
that a concurrence stating that will be filed.            The court was
also informed that the co-defendant also concurs in delaying the
trial.   In accordance with the discussion during the conference,


     IT THEREFORE HEREBY IS ORDERED,

     1. The oral motion of defendant Camacho for continuance of
the hearing on his motion for release from detention is granted,
and the hearing is continued to March 14, 2008 at 2:00 p.m.
before the Hon. Richard G. Kopf, United States District Judge.

     2. Defendant Camacho’s motion for continuance of trial,
filing 37, is granted, and trial of the case, as to both
defendants, is continued to April 28, 2008 before the Hon.
Richard G. Kopf, United States District Judge. Jury selection
will be at commencement of trial. Trial is scheduled for a
duration of five trial days. This trial setting is conditioned
4:07-cr-03167-RGK-DLP   Doc # 43   Filed: 02/14/08   Page 2 of 2 - Page ID # 150



upon the prior disposition or continuance of United States v.
Richard Fleming, 4:07CR3005.

     3. The ends of justice will be served by granting such a
motion, and outweigh the interests of the public and the
defendants in a speedy trial, and the additional time arising as
a result of the granting of the motion, the time between
February 14, 2008 and April 28, 2008 shall be deemed excludable
time in any computation of time under the requirements of the
Speedy Trial Act, for the reason that the parties require
additional time to adequately prepare the case, taking into
consideration due diligence of counsel, the novelty and
complexity of the case, and the fact that the failure to grant
additional time might result in a miscarriage of justice.
18 U.S.C. § 3161(h)(8)(A) & (B).

     DATED this 14th day of February, 2008.

                                   BY THE COURT:


                                   s/    David L. Piester
                                   David L. Piester
                                   United States Magistrate Judge




                                     2
